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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

LASHAWN JONES, ET AL.,
CIVIL ACTION CASE

Plaintiffs,
NO. 2:12-cv-00859

VERSUS

SECTION “~?
MARLIN GUSMAN, ORLEANS PARISH JUDGE LANCE M. AFRICK

SHERIFF, ET AL.,
MAGISTRATE “5”

MICHAEL B. NORTH

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Defendants.

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POST-HEARING BRIEF OF THE INDEPENDENT JAIL COMPLIANCE DIRECTOR

Independent Jail Compliance Director Darnley R. Hodge, Sr., through undersigned
counsel, respectfully submits his Post-Hearing Brief regarding the City of New Orleans’ (the
“City”) Motion for Relief from Court Orders. Doc. No. 1281. The City’s arguments and evidence
utterly fail to meet its burden under Rule 60 and provide no justification for the City to intentionally
breach its agreement to construct a Phase III facility for inmates with medical and mental health
needs. The City’s motion should be denied. |
I. BACKGROUND

The City agreed to construct the Special Needs Facility. For the better part of four years,
the City never objected to the implementation, planning, or construction of Phase III. To the
contrary, the previous City Attorney confirmed the City’s intention and agreement to go forward
with the implementation of Phase III in open Court, and the previous Mayor reconfirmed in writing
the City’s preparation to construct Phase III. (Testimony of Rebecca Dietz; R. Doc. 1336-52). A
change of Mayors did not alter this commitment. In December 2018, the City’s Director of Capital

Projects reconfirmed in writing (including attaching the Supplemental Compliance Action Plan)
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the City’s intention to go forward with Phase III construction. R. Doc. 1336-55. The issue of
housing inmates with special needs became critical when the Elayn Hunt Correctional Facility
would no longer be an option for short-term housing of inmates with special needs. The Court held
a status conference and subsequently confirmed that the City would, inter alia, “direct the architect
chosen to design the permanent facility described in the Supplemental Compliance Action Plan,
filed into the record on January 4, 2017 (the ‘Phase III facility’), to begin the programming phase
of the Phase III facility as soon as possible and to update the Court on the progress of those efforts
at the next scheduled status conference.” R. Doc. 1221 at 3. The Court thereafter confirmed the
parties’ commitment “to continue the programming phase of Phase IIT” and “work collaboratively
to design and build a facility that provides for the constitutional treatment of the special
populations discussed herein without undue delay, expense or waste.”! R. Doc. 1227 at 2-3. The
City repeatedly confirmed it was following through with its agreement to build Phase III.

In June 2020, the City unilaterally halted work on Phase III and filed its Motion for Relief.
R. Doc. 1281. The motion requested relief based on alleged changes in circumstances. In its reply
memorandum, the City then improperly attempted to expand its requested relief with additional
arguments and proposed alternatives to Phase III. None of the City’s arguments—whether timely

raised or otherwise—are supported by any evidence that warrants relief.

 

' The Court specifically found that such orders “extend no further than necessary to correct
violations of the federal rights of the plaintiff class... . [SJuch relief is narrowly drawn, extends
no further than necessary to correct the violations of federal rights, and is the least intrusive means
necessary to correct such violations. The Court has given substantial weight to any adverse impact
on public safety or the operation of a criminal justice system caused by the relief ordered herein.”
R, Doc. 1227 at 3.
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Il. THE CITY’S MOTION MUST BE DENIED

The City’s motion and evidence does not meet the standards of Rule 60. The City has
submitted no viable alternative to its agreement to construct Phase III. In fact, the evidence
underscored that Phase III remains the only durable, long-term solution to house inmates with
medical or mental issues.

A. The City’s Initial Arguments Are Unsupported by the Evidence.

The City’s motion for relief under Rule 60 rested on two alleged changes in circumstances:
(1) the COVID-19 pandemic has made the additional obligation of City funds too onerous, and (2)
a reduced jail population makes construction of the Phase III jail facility unnecessary. Both
arguments fail as a matter of law and of fact.

First, the City did not establish that COVID-19 foreclosed the City from funding the
operation of Phase III. The City has a mandatory obligation under state law to fund the jail’s
operations. See R. Doc. 738 at 21 (providing that Louisiana law obligates the City to provide a
‘good and sufficient jail’”) (quoting La. Rev. Stat. 33:4715); see also La. R.S. 15:702; 704. The
anticipated revenue reductions alleged by the City are relevant only to operational costs, and the
testimony confirmed Phase III will not come on-line until 2023. In a late submission to the Court,
the City confirmed that construction of Phase III will be complete in 31 months, R. Doc. 1356-2,
while the City itself projects full recovery from COVID in 3.5 years. (Testimony of Gilbert
Montano.) The economic effects of COVID will likewise be mitigated by the receipt of any federal
relief funds, separate and apart from the City’s own $31 million “rainy day” fund, which it has not

yet used.” (Testimony of Gilbert Montano.) Moreover, because FEMA funds are available for the

 

? Testimony also indicated that the City has failed to properly manage its own operational costs
throughout this pandemic; the City has not until recently furloughed employees, while the OPSO
immediately implemented furloughs to reduce operating costs.

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construction of Phase III, the City’s general fund budget will not be impacted. (Testimony of
Gilbert Montano.)

The City’s second change in circumstance—an alleged decreasing jail population—fares
no better. As an initial matter, testimony repeatedly confirmed that jail population is increasing
and is currently over 900 and climbing. (Testimony of Michael Laughlin.) Jail population will
likely further increase due to the lessened restrictions from COVID and local trends in violent
crime. (Testimony of Michael Lauglin; Alexander Calenda). The City’s jail population reduction
efforts are—much like its alternative plans for Phase []]—speculative and unsupported by the
record. (Testimony of William Snowden; Tenisha Stevens.) Even if the City’s assertions as to a
declining jail population were supported by the evidence, and they are not, there is no correlation
between the general jail population and the number of inmates who have medical or mental health
needs. (Testimony of Raymond Patterson.) Indeed, Wellpath, the mental health services provider
selected by the City, established that 93% of the current inmate population is under some form of
mental health care. (Testimony of William Kissel; Carin Kottraba.) In any event, the current jail
population is generally in line with predictions going back years, including those predictions in
the Supplemental Compliance Action Plan, and those predictions noted as recently as February
2019 in the City’s own submissions to this Court. See R. Doc. 1222-1 at 3. There are simply no
changes in circumstances.

B. The City’s Additional Arguments Likewise Do Not Establish a Basis for Relief.

The City raises additional arguments that likewise lack merit.? First, in its motion, the City

proposed the use of the Temporary Detention Facility (“TDC”) instead of Phase III to handle

 

3 As an initial matter, arguments not raised in an initial motion or brief are properly deemed waived
and need not be considered. See Winward Grp., LLC v. Reva Solutions, Inc., No. 17-5748, 2017
WL 6388510, at *3 n.11 (E.D. La. Dec. 13, 2017) (Africk, J.) (“Nor must the Court consider Reva’s

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inmates with special needs. But as the City’s own witnesses confirmed, the TDC has always
previously been a “stop gap” or “bridge” to a long-term solution.* (Testimony of Ramsey Green;
William Kissel).

After the City filed its motion, it only then engaged Dr. James Austin to develop
alternatives to Phase III. In only twenty-two days, he developed three options, two of which
contemplated retrofitting TDC, which he admitted at the hearing was not a “viable” option. His
third option was the retrofitting of OJC, which the City said was the “best cost” solution and
“adequate” for the housing of inmates with special needs. But “best cost” is not the standard for
compliance with the terms of the Consent Decree. The standard is a “long-term durable solution.”
As Director Maynard explained, the success of treating inmates with medical and mental health
needs is greater if the treatment occurs outside the confines of the general population in a stand-
alone facility such as Phase III, where specially-trained deputies and staff are able to become an
integrated part of the treatment team. (Testimony of Director Maynard).

Moreover, any OJC retrofit proposal is simply a rushed, hypothetical scenario that the
City’s own witnesses confirm lacks a set timeline, is based on assumptions as to the budget, fails
to account for construction issues, and included no significant input from the federal monitors,
OPSO staff, Tulane doctors, or medical service contractors. (Testimony of James Austin;
Raymond Patterson; James Rouse.) Perhaps most importantly, this entire argument is an attempt
to re-do the process outlined in the Stipulated Order. A similar retrofit idea was proposed in 2017

and rejected as part of that process. (Testimony of Gary Maynard; Rebecca Dietz.)

 

argument concerning contract modification, as ‘[a]rguments raised for the first time in a reply brief
are generally waived.’ Jones v. Cain, 600 F.3d 527, 541 (Sth Cir. 2010).”)

‘ During the hearing, the TDC in fact had to be evacuated due to an approaching hurricane,
further illustrating its temporary nature.
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Importantly, the City made no showing that FEMA funds could be used for an OJC retrofit.
The record includes no agreement from FEMA, in writing or otherwise, no evidence that FEMA
“obtain and maintain” insurance requirements can be met, and no evidence of OPSO’s agreement
to modify its building. The City has never submitted a proposed OJC retrofit to FEMA as a
recipient project; and a Section 106 Historic review of a proposed OJC retrofit has not been
requested by the City. The City, moreover, did not show how a retrofit of OJC will not put the
OPSO at risk of up to $75 million of FEMA’s “at cost” reimbursement for OJC, a project that has
not been closed and a project that will not meet FEMA’s “design,” “function,” and “capacity”
requirements for “at cost” reimbursement if OJC is retrofitted.

Second, the City argues that it never agreed to build Phase III. This argument is belied by
the facts. The City Attorney, under the powers of the Home Rule Charter, executed on behalf of
the City the Stipulated Order that provided a definitive process to bring the special needs housing
issue to a final resolution (Testimony of Rebecca Dietz). Once the Phase III plan was selected by
then-Compliance Director Maynard, the City did not object (Testimony of Rebecca Dietz; Gary
Maynard). Instead, the City reconfirmed its agreement on multiple occasions both in open Court
and in writing (Testimony of Rebecca Dietz; R. Doc. 1336-52; 1336-55). The City Council itself
voted in 2017 to send the Phase III plans to the City Planning Commission. Such plans were simply
never sent, for no discernible reason. (Testimony of Susan Guidry.)

Third, the City argues that it is required to exercise its discretion in approving Phase III
and may consider a “land use” veto to any Phase III construction. As an initial matter, the
Stipulated Order contains no such “conditional” promise by the City. This belated claim to a land-
use veto is entirely inconsistent with the City’s representations and promises to the Court and to

the other parties, and with the law. OPSO abandoned its claims regarding the Templeman IT FEMA
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funds in complete reliance on the City’s promise and contractual agreement to use those funds
“exclusively” for the implementation of a plan to house special needs inmates. The City is estopped
now from taking a contrary position.

To the extent the City continues to rely on any such land use permit issue, it is a resolutory
condition, wholly within the will of the City and thus must be fulfilled in good faith under
Louisiana law. See La. Civ. Code art. 1767; 1770. The evidence shows no good-faith basis exists
for refusing to grant a conditional land use permit for Phase III, if one is even required. The location
of Phase II] is within the currently existing secure perimeter of OJC, and there is no other
conceivable use for the land other than a correctional use. Any failure to uniformly apply zoning
regulations or refuse to grant a permit where no other conceivable use of the land is possible would
be arbitrary and capricious.” Indeed, Ms. Dietz cautioned the City Council that, if Phase III did not
go forward, the City would be in contempt of this Court.

Moreover, the City itself has submitted various alternative proposals up to and including
the final day of the hearing on this motion, none of which mention or contemplate any similar
conditional use permit issues. See R. Doc. 1337-1; 1356-2. The City may not now adopt contrary
positions on a whim, one day asserting that conditional use permits are within its sole control and
discretion and present an overriding obstacle to any proposed construction, and the next day

submitting plans and proposals that contain no similar limitations. See infra p. 10.

 

> “Zoning regulations must be uniformly applied within each district or zone of the municipality.”
K.G.T. Holdings, LLC v. Parish of Jefferson, 14-872 (La. App. 5 Cir. 3/25/15); 169 So. 3d 628,
634, writ denied, 2015-0810 (La. 6/19/15); 172 So. 3d 652 (Mem) (citing Jenkins v. St. Tammany
Parish Police Jury, 98-2627 (La.7/2/99); 736 So. 2d 1287, 1291). “When applications are granted
in similar situations and refused in others, the refusal to grant an application may constitute
nonuniform application of zoning ordinances that is arbitrary and capricious.” Jd. (citing Papa v.
City of Shreveport, 27,045 (La. App. 2 Cir. 9/29/95); 661 So.2d 1100, writ denied, 95-2544 (La.
1/5/96); 666 So, 2d 295.”
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Fourth, the City argues that Phase III is not now needed because constitutional standards
for mental health care are currently met. This contention was completely rejected by the federal
monitors and should be rejected by the Court. Each of the Monitors confirmed that Phase III is
necessary to fulfill the Consent Decree. (Testimony of Raymond Patterson, Robert Greifinger,
Patricia Hardyman, Margo Frasier.) The TDC is merely a temporary solution, not a viable or
durable option for long-term, substantial compliance with the terms of the Consent Decree.

Fifth, the City argues that an infirmary as contemplated by Phase III is not necessary to
address the medical needs of inmates. Although the City called Dr. Ronald Shansky on the issue,
he supported the Compliance Director’s position, not the City’s. Dr. Shansky discussed several
conditions which must be met for a jail not to have an infirmary. Dr. Shanksky agreed that none
of conditions are met by OJC. He likewise testified that it is common for mid-sized jails—one
with over 500 inmates— to have infirmaries on site. OJC is, at the very least. a mid-sized jail; and
the conditions which would render an on-site infirmary unnecessary simply do not exist at OJC.
Moreover, all of the monitors agreed that an infirmary is required.

Sixth, the City argues that the Court’s orders violate the Prison Litigation Reform Act
(“PLRA”). This argument (1) was not raised in the City’s initial motion and is properly deemed
waived; and (2) misconstrues the factual record. The Court has never ordered the City to build a
jail, but it does have the authority to enforce the City’s agreement with the parties to build Phase
III. In fact, the City agreed in the Stipulated Order to an express provision that the Stipulated
Order complies with the PLRA. This language was not “boilerplate” but rather included input and
consideration from all parties, including the City. (Testimony of Rebecca Dietz.) The Court’s
Order of March 18, 2019 likewise provides that its “relief is narrowly drawn, extends no further

than necessary to correct the violations of federal rights, and is the least intrusive means necessary
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to correct such violations” and that the Court “has given substantial weight to any adverse impact
on public safety or the operation of a criminal justice system caused by the relief ordered herein.”
R. Doc. 1227 at 3. |

Nothing in the PLRA limits a Court’s authority to enforce its own orders or to require a
party to fulfill its contractual agreements and promises. See Plata v. Schwarzenegger, No. CO1-
1351, 2008 WL 4847080, at *7 (N.D. Cal. Nov. 7, 2008). The site of Phase III is already selected
and FEMA funds are available to cover all costs of construction. Neither of the Court’s orders
violate any provisions of the PLRA. Cf Harris v. City of Philadelphia, No. 82-1847, 2000 WL
1978, at *17 (E.D. Pa. Dec. 23, 1999) (finding Section 3626(a)(1)(C) not implicated where the
City’s decision to build a Women’s Detention Facility was already made and the site selected and
prepared by City officials, not the court, and the court otherwise ordered that certain justice lease
revenue bond funds “shall not be diverted, expended or committed by presently binding obligation
or transferred except for the construction of a Women’s Detention Facility at the City's prison
campus”).

Seventh, more than sufficient FEMA funds are available to construct Phase HI. Michael
Gaffney testified that $48 million dollars of the $70 million in Templeman II funds remain for the
construction of Phase III, and the City agreed in paragraph 22 of the Stipulated Order that those
funds would be used exclusively for the construction of a facility addressing housing for special
needs inmates. Even though the City moved Templeman II FEMA funds to a Criminal Justice
Public Safety Consolidated Alternate Project Worksheet , it admitted that the funds in that project
worksheet can be reallocated to build Phase III, and the funds that remain available in that project

worksheet are at least $81 million. (Testimony of Ramsey Green, LaNitrah Hassan). The issue
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is not whether sufficient FEMA funds remain for building a Special Needs Facility, but whether
the City wants to spend these funds on other things, such as renovating Gallier Hall.

Finally, the City is estopped from adopting contrary positions with respect to the
construction of Phase III (especially as regards the PLRA and land use arguments) after
representing to the Court and the parties to this longstanding litigation, until as recently as April
2020, that it had every intention of going forward with the construction of the same. See R. Doc.
1268 (“The architect, .. . is currently engaged in the Construction Document (“CD”) phase of
Phase III. The projected project completion is summer 2022.”). The City has taken an established
position with respect to the construction of Phase III since at least 2017, and the Court and the
parties have relied on that position. The City’s recent about-face is “clearly inconsistent” with its
prior representations; and the OPSO would have never relinquished control of the Templeman II
FEMA funds if the City can now ignore its agreement to build the Special Needs Facility. The
Special Needs Facility is the only durable, long-term solution to the problem of inmates with
medical and mental health needs.

I. CONCLUSION

The City’s motion does not meet the burden of Rule 60. The motion improperly seeks to
undo and rewind the previously agreed-to process for implementing a long-term solution for
inmates with medical and mental health needs housed at OJC which was embodied in a Stipulated
Order. The City’s motion is not justified by the law nor by the facts and, accordingly, must be

denied.

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Respectfully submitted,

/s/ Richard C. Stanley

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CERTIFICATE OF SERVICE

I hereby certify that on October 30, 2020, a copy of the foregoing Post-Hearing Brief of

the Independent Jail Compliance Director was filed electronically with the Clerk of Court using

the CM/ECF system. Notice of this filing will be sent to all counsel of record by operation of the

Court’s electronic filing system.

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/s/ Bryan C. Reuter
